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^AO 199A (Rev, 6/97) Order Selling Conditions of Reiense                                                              Page 1 olV     y Pages




                                     United States District Cour                                              "LtS. '' i
                                                                                                                      |7
                                                 Eastern         District of          Virginia
                                                                                                            1 CiJ^U.8.DISTRICT COURT
                                                                                                                 ALB^DRIA.VIBGIMtA
                   United States of America
                                                                      ORDER SETTING CONDITIONS
                                                                                      OF RELEASE
                                V.

                                                                  Case Number:


                            Defendant


 IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                 address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                 directed. The defendant shall appear at (if blank, to be notified)               United States District Court



                                                  Or~kl_                                    Da.c and Time
                                        Release on Personal Recognizance or Unsecured Bond

 IT IS fTJRTHER ORDERED that the defendant be released provided that:

(^ )(4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
(       )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                          dollars ($                     J
                in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                   DISTRIBUTION:       COURT      DEFENDANT   PRETRIAL     SERVICES      US. ATTORNEY        U.S. MARSHAL
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